Case 1:19-cv-00036-JRS-TAB Document 1 Filed 01/04/19 Page 1 of 5 PageID #: 1




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                                     )
                                                              )
                                   Plaintiff,                 )
                                                              )
                                   v.                         )
                                                              ) Case No. 1:19-cv-36
RAYMOND PAUL FLIEHMAN and                                     )
JAN MICHELE FLIEHMAN,                                         )
                                                              )
                                           Defendants.        )

                                            COMPLAINT


        Comes now plaintiff, United States of America, on behalf of its agency, the Farm Service

Agency, its successors and assigns, by Josh J. Minkler, United States Attorney for the Southern

District of Indiana, and states:

                                        JURISDICTION/VENUE
        This Court has jurisdiction pursuant to 28 U.S.C. Section 1345, and venue is properly

lodged in this Court.
                                        COUNT I (Action for Debt)
        As claim against the defendants, Raymond Paul Fliehman and Jan Michele Fliehman, the
plaintiff asserts:

        1.      On or about the date listed thereon, the defendants, Raymond Paul Fliehman and

Jan Michele Fliehman, executed and delivered to plaintiff, United States of America, acting

through the Farm Service Agency, United States Department of Agriculture the following

Promissory Notes (hereinafter referred to as “the Notes”) under which they are currently indebted

to the United States:
Case 1:19-cv-00036-JRS-TAB Document 1 Filed 01/04/19 Page 2 of 5 PageID #: 2




         Designation                  Date of Execution                       Principal Sum
          Exhibit A                   November 15, 2013                         $41,500.00
          Exhibit B                   November 15, 2013                        $195,000.00
          Exhibit C                   December 13, 2013                         $47,000.00


         2.     Said defendants defaulted and failed to make the payments required by the Notes,

and/or otherwise defaulted in regard to their obligations to plaintiff under the provisions of

Notes.

         3.     All conditions precedent to the assertion of this cause of action against the said

defendants, have been satisfied and/or occurred.

         4. As of December 6, 2018, Plaintiff is owed, under the provisions of the promissory

note, a total unpaid principal balance of $228,839.48 and total unpaid interest of $8,022.61, with

interest accruing at the daily rate of $9.1848. Additionally, Plaintiff is owed $150.00 for the cost

of lien search, as permitted by the provisions of the Note and security instrument.



         WHEREFORE, plaintiff respectfully prays that the Court:

         A. Enter judgment in personam in favor of the plaintiff and against the defendants,
Raymond Paul Fliehman and Jan Michele Fliehman, in the principal amount of $220,816.87 with

interest thereon through December 6, 2018, in the sum of $8,022.61, plus interest at the rate of

$9.1848 per day from December 7, 2018, until the date of entry of judgment, plus such further

costs and expenses as may be incurred to the date of judgment, and all other costs herein, without

relief from valuation or appraisement laws.

         B. Provide the plaintiff with such other and further relief as is just and proper in the

premises.
Case 1:19-cv-00036-JRS-TAB Document 1 Filed 01/04/19 Page 3 of 5 PageID #: 3




                       COUNT II (Action to Enforce Security Agreement)
          As claim against the defendants, Raymond Paul Fliehman and Jan Michele Fliehman, the

plaintiff asserts:

          1.     To secure the indebtedness evidenced by Exhibit A, B, and C, the defendants,

executed and delivered to plaintiff, United States of America, acting through the Farm Service

Agency, the Security Agreements, true and accurate copies of which are attached as Exhibits D

and E, on the personal property described therein. The personal property securing the defendants’

obligations evidenced by Exhibit A, B and C included, but is not limited to, the property listed in

hereto:


Qty.                       Kind                      Manufacturer              Size/Year/Type
1                          Cattle Equipment
1                          Gates                     Portable cattle
                                                     handling equipment
1                          Tub grinder               Kuhn                      5156/2012/SN A0160
7                          Feed bunks                Various

Qty.                       Kind                      Breed                     Color/Weight/Age
4                          Bulls                     Crossbred                 Mixed/black
8                          Cows                      Crossbred                 Mixed/ black
5                          Heifers                   Crossbred                 Mixed/black
49                         Cows                      Simmental/Anjou           Black


The security interest of the plaintiff was perfected by the filing of the Financing Statement

attached hereto as Exhibit F.

          2.     The defendants, Raymond Paul Fliehman and Jan Michele Fliehman, have

defaulted in regard to the obligations to plaintiff under the provisions of the Notes and/or

Security Agreements, and the entire indebtedness of the defendants is now due.

          3.     All conditions precedent to the assertion of this cause of action against the said

defendant have been satisfied and/or have occurred.
Case 1:19-cv-00036-JRS-TAB Document 1 Filed 01/04/19 Page 4 of 5 PageID #: 4




       4.      That the collateral described in rhetorical Paragraph 1 has been unlawfully

detained by the defendants in contravention of the rights to possession of that collateral provided

to the plaintiff by the Security Agreement described in rhetorical Paragraph 1 and by Article 9 of

the Uniform Commercial Code, thereby giving rise to an action for replevin by the plaintiff with

respect to that personal property.

               WHEREFORE, plaintiff respectfully prays that the Court:

       A. That judgment be entered in favor of the plaintiff providing relief with respect to the

plaintiff’s interest in the personal property described in paragraph 1 above as follows:

       1.      Foreclosure of all legal right, title and interest of defendants, in and/or to said

personal property, with said personal property to then be sold by judicial sale, with provision for

sale as a unit or in separate units pursuant to applicable law and, at the plaintiff’s election, with

the assistance of an auctioneer; or

       2.      For replevin by which the plaintiff receives possession of the property described

in paragraph 1 above, for disposition by the plaintiff pursuant to Article 9 of the Uniform

Commercial Code.

       B.      That if proceeds of the sale are less than the sum of money to be paid to plaintiff,

that an in personam judgment for this deficiency be entered against the defendants, Raymond

Paul Fliehman and Jan Michele Fliehman.
Case 1:19-cv-00036-JRS-TAB Document 1 Filed 01/04/19 Page 5 of 5 PageID #: 5




       C. Provide the plaintiff with such other and further relief as is just and proper in the

premises.


                                             Respectfully submitted,

                                             JOSH J. MINKLER
                                             United States Attorney


                                        By: /s/ John E. Childress
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